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                 UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF TEXAS
                     FORT WORTH DIVISION

     OUTSOURCING FACILITIES
     ASSOCIATION, ET AL.,

          Plaintiffs,

     v.                                             No. 4:25-cv-0174-P

     UNITED STATES FOOD AND DRUG
     ADMINISTRATION, ET AL.,

          Defendants.
                                   ORDER
        Before the Court is Novo Nordisk Inc.’s Unopposed Motion to
     Intervene. ECF No. 24. The Court, finding that good cause exists for
     Novo Nordisk’s intervention in this case under Federal Rule of Civil
     Procedure 24, hereby GRANTS Novo Nordisk’s Motion to Intervene.

          Furthermore, it is hereby ORDERED that Defendants’ deadline to
     respond to the complaint is extended until after the Court has ruled on
     the Parties’ summary judgment motions.

          SO ORDERED on this 5th day of March 2025.
